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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

   MUFTI ABDUL EL-MALIK-ALI,                      )
                                                  )
                Plaintiff,                        )
                                                  )
   v.                                             ) CASE NO. 1:20-cv-02365-SEB-TAB
                                                  )
   RICHEY, et al.,                                )
                                                  )
                Defendants.                       )

          ACKNOWLEDGEMENT OF STIPULATION OF DISMISSAL
         WITH PREJUDICE AND ORDER TO CLERK TO CLOSE CASE

        The court acknowledges the stipulation filed by all parties, pursuant to Fed.

  R. Civ. P. 41(a)(1)(A)(ii), as to the dismissal of this action, with prejudice, each party

  to bear its own costs. Pursuant to that Rule, this case is DISMISSED with

  prejudice.

        The Clerk is directed to close this case.

        SO ORDERED.

         12/28/2023                                 _______________________________
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana




  Distribution to all CM/ECF registered counsel-of-record




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